     Case 1:07-cv-11693-GAO           Document 112-2       Filed 09/29/08      Page 1 of 5


                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS




 PEDRO LOPEZ, et al.,

                               Plaintiffs,

                          v.                                CIVIL ACTION
                                                            NO. 07-11693-JLT
 CITY OF LAWRENCE, MASSACHUSETTS, the
 COMMONWEALTH OF MASSACHUSETTS,
 et al.,

                               Defendants.



                        AFFIDAVIT OF ROBERT L. QUINAN, JR.

       NOW COMES Assistant Attorney General Robert L. Quinan, Jr., being duly sworn, and
deposes and states as follows:

1.     I have been an Assistant Attorney General for over twelve years.

2.      In December of 2007, the chief of my division assigned me to be lead counsel for the
state defendants in the above-captioned case. I have assumed principal responsibility on behalf
of the Commonwealth for discovery matters in this case.

3.      In response to this Court’s Order on Document Discovery (docket no. 81), the principal
state defendant, the Massachusetts Human Resources Division (“HRD”), under my supervision,
has made available for review by the other parties’ counsel and expert witnesses over five
thousand pages of documents pertaining to police promotional examinations administered by
HRD within the past five years.

4.      HRD permitted plaintiffs’ counsel and expert to view what was, to my knowledge,
every single document remaining in HRD’s paper files pertaining to the four sergeant
examinations administered from 2005 to 2007 (with the exception only of a handful of
privileged documents for which HRD produced a privilege log).

5.      Given that many of the documents required to be produced under the Court’s discovery
order are highly confidential, protected from disclosure under state law (either because to make
them public might destroy the integrity of the examination or because they contain deeply
personal information, such as the social security numbers, home addresses, and/or home
telephone numbers, of hundreds of police officers throughout the state who are not parties to
this lawsuit), the discovery order expressly stated that they were to be made available to
                                               1
     Case 1:07-cv-11693-GAO           Document 112-2         Filed 09/29/08     Page 2 of 5


plaintiffs’ counsel and expert witness for inspection only at One Ashburton Place in Boston,
where HRD is headquartered. This provision of the discovery order was agreed to in writing
by plaintiffs’ counsel in May of 2008.

6.     Until this month, the plaintiffs have never sought on-site access to the highly
confidential documents HRD was obliged to produce under ¶¶ 6-9 and 12-14 of the Court’s
discovery order. Back in the spring, however, at the time I was negotiating the terms of the
document discovery order with plaintiffs’ counsel, I informed plaintiffs’ counsel that the
documents specified in ¶¶ 6-9 and 12-14 of the joint proposed order would become available to
them as soon as the Court entered the order, which it did on May 20, 2008.

7.      In late June, I reminded plaintiffs’ counsel in writing that many confidential documents
were awaiting plaintiffs’ review at One Ashburton Place. I also asked for an indication of
when the plaintiffs would commence production of documents under ¶¶ 27 – 35 of the Court’s
discovery order. I never received any response from plaintiffs’ counsel over the summer. Not
until on or about August 29, 2008, did plaintiffs’ counsel contact me to schedule a review of
HRD’s highly confidential documents. After spending four hours reviewing these documents
on September 4, 2008, neither plaintiffs’ counsel nor their expert returned until September 16.
At that point, plaintiffs’ counsel made arrangements with me for plaintiffs’ principal expert
witness and two other attorneys from plaintiffs’ law firm to spend several days reviewing
HRD’s confidential documents alone in a conference room at One Ashburton Place.

8.      With my cooperation, plaintiffs’ counsel and experts collectively have spent several
dozen hours at One Ashburton Place, alone in conference rooms, reviewing confidential
material. I have never refused any request by the plaintiffs for on-site access to the documents
called for in the Court’s discovery order. Indeed, I have even permitted plaintiffs’ expert
unsupervised access to these documents after normal business hours (as late as 6 p.m.). In
short, HRD has complied fully with the Court’s document discovery order.

9.      In fact, HRD has been more cooperative than it is obliged to be under the discovery
order. Just prior to the filing of the plaintiffs’ motion seeking additional time in which to file
expert reports, HRD and the plaintiffs reached an agreement in principle, whereby plaintiffs’
principal expert could retain possession of copies of HRD’s confidential documents for up to
fourteen days (albeit under very strict confidentiality provisions, including exposing plaintiffs’
expert to tort liability for any breach of the new confidentiality agreement).

10.     Recently, however, plaintiffs have made repeated demands on HRD for documents that
(a) clearly fall outside the scope of this Court’s document discovery order, and (b) HRD is
forbidden by state law from releasing. Specifically, plaintiffs seek documentation from HRD
containing the individual answers each candidate for promotion to lieutenant gave to each of
the lieutenant promotional examinations administered statewide between 2005 and 2007. None
of the named plaintiffs ever sat for a lieutenant promotional examination (and nor were they
eligible to do so).

11.     On September 16, 2008, for the first time, plaintiffs’ counsel disclosed to me that
plaintiffs had retained Dr. Frank Landy as a second expert witness. Plaintiffs’ counsel offered
me no explanation as to plaintiffs’ need for a second expert (particularly one whose area of


                                                2
     Case 1:07-cv-11693-GAO            Document 112-2        Filed 09/29/08      Page 3 of 5


expertise is essentially the same as that of their primary expert). Despite my inquiry, plaintiffs’
counsel would not comment on what subjects each expert would address in their expert reports.

12.     Plaintiffs’ counsel also have not been willing to fully address my concerns regarding the
plaintiffs’ failure to comply with the Court’s discovery orders. The court-imposed deadline of
August 31, 2008, for plaintiffs to complete their production of document discovery to the
defendants came and went without the plaintiffs producing one single page of written discovery
material. The very first documents the plaintiffs ever produced in this case (on September 2,
2008) were copies of the plaintiffs’ filings with the Massachusetts Commission Against
Discrimination that plaintiffs’ counsel had authored in July of 2007.

13.     To this day, none of the eight named plaintiffs employed outside of Boston have
produced a single document in response to paragraph 30 of the Court’s May 20 discovery order
(calling for production of plaintiffs’ job performance evaluations and other documents typically
found in an individual’s personnel file).

14.    Plaintiffs have also produced to date very few of the key documents called for in
paragraphs 28-33 of the Court’s May discovery order. As a result, I have barely been able to
commence preparations for depositions of the named plaintiffs and their supervisors, which
under this Court’s August 12 order must be completed by November 30, 2008.

15.     I have been reliably informed by senior HRD personnel that, for many years in the
1990’s, Dr. Frank Landy served as HRD’s principal consulting expert on the development of
police examinations. I am also informed that HRD used the same basic examination outline to
construct the statewide sergeant promotional examinations being challenged in this case as the
one Dr. Landy helped HRD devise in the 1990’s.

16.     From 2000 to 2002, Dr. Landy consulted with HRD and its attorneys as an expert in test
validation methods in the course of litigation over the validity of (and an adverse impact on
minorities allegedly associated with) HRD’s police sergeant promotional examinations. The
case Dr. Landy consulted on was pending in this Court and known as Cotter et al. v. City of
Boston et al. My records indicate that another, former Assistant Attorney General first
consulted with Dr. Landy on the Cotter case in the year 2000. I sent Dr. Landy a formal
retention letter shortly after I was assigned to the case in 2001.

17.     I informed Dr. Landy in writing that he was being retained by HRD to address the same
core issues presented in this case (namely, the alleged adverse impact upon minorities, and the
validity, of HRD’s sergeant promotional examinations). Eventually, following preparatory
work I did with him, Dr. Landy was deposed by counsel for the Massachusetts Association of
Minority Law Enforcement Officers on those topics.

18.     In connection with his work on the Cotter case, Dr. Landy participated with me and
senior HRD personnel in confidential, attorney-client privileged communications on the subject
of issues that are actively in dispute in this case. I clearly recall having a number of extended
confidential discussions with Dr. Landy regarding the validity of HRD’s police promotional
examinations. I also have a record of having transmitted to Dr. Landy, while he served as
HRD’s consulting expert in the Cotter case, a substantial trove of highly confidential
examination materials of the same type and nature as the materials protected both by the court’s

                                                3
     Case 1:07-cv-11693-GAO          Document 112-2        Filed 09/29/08     Page 4 of 5


discovery order and the separate confidentiality agreement HRD recently entered into with
plaintiffs’ counsel and expert.

19.     I specifically recall that Dr. Landy was a party to and/or privy to attorney-client
privileged communications that I orchestrated regarding litigation strategies for defending the
validity of HRD’s sergeant promotional examinations. He was also privy to legal advice I
furnished my clients regarding HRD’s obligations under the same state and federal laws as
undergird plaintiffs’ complaint in this case.

20.      Among the confidential three-way communications I recall having with Dr. Landy and
my clients (i.e., senior HRD personnel) in 2001 were ones concerning how the law and certain
statistical analyses Dr. Landy had performed meshed in order to influence how HRD both sets
the passing score on its police sergeant examinations and reports the scores candidates achieve
on those examinations to municipal police departments. Those confidential discussions remain
to this day directly relevant to core issues in dispute in this litigation. Plaintiffs’ Fifth
Amended Complaint discusses both the passing score that HRD employs on its sergeant
promotional examination and the ranking of scores above the passing point. The passing score
for the sergeant examinations being challenged in this case remained the same as the passing
score employed in the examination that Dr. Landy defended in the Cotter case.

21.     Because it was a matter in dispute for a considerable period of time, I recall that Dr.
Landy was paid at least $50,000 by the Commonwealth for his services as an expert in the
Cotter litigation alone.

Signed and sworn to under the pains and penalties of perjury this 27th day of September, 2008.


                                              /s/ Robert L. Quinan, Jr.________________
                                              Robert L. Quinan, Jr.
                                              Assistant Attorney General
                                              Commonwealth of Massachusetts




                                               4
 Case 1:07-cv-11693-GAO           Document 112-2        Filed 09/29/08     Page 5 of 5




                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above affidavit will be served on September 29,
2008, by electronic notice for registered counsel and a copy will be served by first-class
mail, postage pre-paid, for non-registered counsel.

                                             /s/ Robert L. Quinan, Jr.________________
                                             Robert L. Quinan, Jr. BBO # 553010
                                             Assistant Attorney General




                                            5
